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                  UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WISCONSIN

Stephani Bauernfeind,

                        Plaintiff,

vs.                                           Case No.: 20-cv-495
ANDREW SAUL,
Commissioner of Social Security,

                        Defendant.


                             NOTICE OF APPEAL



      Notice is hereby given that Stephani Bauernfeind, by her attorney,
Dana W. Duncan, Duncan Disability Law, S.C., plaintiff in the above named
case, hereby appeals to the United States Court of Appeals for the Seventh
Circuit, an order dated September 20, 2021 and the judgment dated September
20, 2021 by Federal District Judge Barbara B. Crabb which affirmed the
decision of the Defendant, Andrew Saul, Commissioner of Social Security,
denying plaintiff’s application for disability insurance benefits under 42
U.S.C. §§ 216(i) and 223.
      Dated this 26th day of October, 2021.


                                          DUNCAN DISABILITY LAW, S.C.
                                          Attorneys for the Plaintiff


                                          /s/ Dana W. Duncan
                                          Dana W. Duncan
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